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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



CENTER FOR DEMOCRACY & TECHNOLOGY,
     1401 K Street NW
     Suite 200                                                      20-1456
                                                         Case No. ______________
     Washington, DC 20005

                      Plaintiff,
                                                              COMPLAINT
              v.

DONALD J. TRUMP, in his official capacity as
President of the United States of America,

Serve: Donald J. Trump
       President of the United States
       1600 Pennsylvania Avenue NW
       Washington, DC 20500

                      Defendant.



                                            INTRODUCTION

         1.     President Trump’s May 28, 2020 “Executive Order on Preventing Online Censorship”

     (“Executive Order”)1 violates the First Amendment in two fundamental respects: First, the Order

     is plainly retaliatory: it attacks a private company, Twitter, for exercising its First Amendment

     right to comment on the President’s statements. Second, and more fundamentally, the Order seeks

     to curtail and chill the constitutionally protected speech of all online platforms and individuals—

     by demonstrating the willingness to use government authority to retaliate against those who

     criticize the government.




     1
          Executive   Order    on    Preventing     Online     Censorship    (May     28,    2020),
     https://www.whitehouse.gov/presidential-actions/executive-order-preventing-online-censorship/.
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    2.      Plaintiff—an organization that promotes and protects free expression on the Internet—

brings this lawsuit to invalidate that unconstitutional act and prevent the chilling of Americans’

essential free speech rights.

    3.      The First Amendment embodies “a profound national commitment to the principle that

debate on public issues should be uninhibited, robust, and wide-open.” New York Times Co. v.

Sullivan, 376 U.S. 254, 270 (1964). “The right of citizens to inquire, to hear, to speak, and to use

information to reach consensus is a precondition to enlightened self-government and a necessary

means to protect it.” Citizens United v. FEC, 558 U.S. 310, 339 (2010).

    4.      Commentary about the statements and actions of public officials lies at the very core

of the speech protected by the First Amendment. Indeed, the Supreme Court has explained that

the First Amendment’s protection extends even to “vehement, caustic, and sometimes unpleasantly

sharp attacks on government and public officials.” Sullivan, 376 U.S. at 270.

    5.      The Sedition Act of 1798 made it a crime to “write, print, utter or publish . . . any false,

scandalous and malicious writing or writings against the government of the United States, or either

house of the Congress. . . , or the President. . . , with intent to defame . . . or to bring them, or either

of them, into contempt or disrepute; or to excite against them, or either or any of them, the hatred

of the good people of the United States.” James Madison—speaking against the Act—said that in

our constitutional system, “the censorial power is in the people over the Government, and not in

the Government over the people (4 Annals of Congress at 934 (1794))”; “[t]he right of free public

discussion of the stewardship of public officials was thus, in Madison’s view, a fundamental

principle of the American form of government.” Sullivan, 376 U.S. at 274-75. In both Congress

and the Supreme Court, there was a “broad consensus that the Act, because of the restraint it




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imposed upon criticism of government and public officials, was inconsistent with the First

Amendment.” Id. at 276.

   6.        The First Amendment prohibits government officials from using government power to

retaliate against an individual or entity for engaging in protected speech. As the Supreme Court

has explained, “[o]fficial reprisal for protected speech ‘offends the Constitution [because] it

threatens to inhibit exercise of the protected right,’ and the law is settled that as a general matter

the First Amendment prohibits government officials from subjecting an individual to retaliatory

actions . . . for speaking out.” Hartman v. Moore, 547 U.S. 250, 256 (2006) (internal citations

omitted).

   7.        The First Amendment also prohibits the use of government power to chill individuals

or entities from engaging in protected speech. “Generally speaking, government action which

chills constitutionally protected speech or expression contravenes the First Amendment.” Wolford

v. Lasater, 78 F.3d 484, 488 (10th Cir. 1996) (citing Riley v. Nat’l Fed’n of the Blind of North

Carolina, 487 U.S. 781, 794 (1988)).

   8.        Finally, the First Amendment bars the government from trying to censor lawful

speech—such as the online speech of ordinary Americans—through the threat of liability or

reprisals directed at intermediaries, the companies that provide the platform for Americans’ online

speech. See Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963) (“[T]he threat of invoking

legal sanctions and other means of coercion, persuasion, and intimidation” constitutes “informal

censorship” that violates the First Amendment).

   9.        The Executive Order violates all of these well-established First Amendment principles.

   10.       Twitter appended the President’s tweets on California’s plans for voting by mail with

a tag stating that viewers could “get the facts” about California’s mail-in ballot plans by clicking



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on the addendum. In immediate retaliation, the President issued the Executive Order. In addition,

President Trump—by publicly attacking Twitter and issuing the Order—sought to chill future

online speech by other speakers.

   11.     The processes prescribed by the Order would circumvent the role of Congress and of

the courts in enacting and interpreting 47 U.S.C. § 230 (“Section 230”)—a critical protection for

online speech—and purport to empower multiple government agencies to pass judgment on

companies’ content moderation practices. The Order clouds the legal landscape in which the hosts

of third-party content operate and puts them all on notice that content moderation decisions with

which the government disagrees could produce penalties and retributive actions, including

stripping them of Section 230’s protections. It invokes government authority to set in motion

processes to limit legal protections applicable to private actors and to coordinate legal actions by

State Attorneys General against online service providers, and threatens withdrawal of government

advertising funds. The effect of the Order will be to reduce Americans’ ability to speak freely

online and access the wide range of information and views that are available today.

   12.     President Trump’s retaliatory motivation and his goal of chilling future protected

speech that is inconsistent with his views render the Executive Order violative of the First

Amendment.

   13.     This Court should therefore declare that the Executive Order violates the First

Amendment and is therefore invalid, and issue an order prohibiting government officials from

engaging in the acts specified in the Order.




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                                JURISDICTION AND VENUE

   14.     Pursuant to 28 U.S.C. § 1331, this Court has subject matter jurisdiction over Plaintiff’s

claim, which raises questions under the First Amendment to the United States Constitution. The

Court has additional remedial authority under 28. U.S.C. §§ 2201-02.

   15.     Venue is proper under 28 U.S.C. § 1391(e) because (i) this is a civil action in which

Defendant is the President of the United States, (ii) a substantial part of the events or omissions

giving rise to the claim occurred in the District of Columbia, and (iii) Defendant resides in this

district at the White House.

                                            PARTIES

   16.     Plaintiff Center for Democracy & Technology (“CDT”) is a federally tax-exempt,

nonprofit organization headquartered in Washington, District of Columbia, whose mission is to

strengthen individual rights and freedoms by defining, promoting, and influencing technology

policy and the architecture of the Internet that impacts people’s daily lives. For more than 25

years, CDT has put democracy and individual rights at the center of the digital revolution, and

ensured that the constitutional and democratic values of free expression and privacy are protected

in the digital age. CDT consistently urges courts to defend Americans’ rights to express themselves

online.

   17.     Defendant Donald J. Trump is the President of the United States. He is sued in his

official capacity. In that capacity, he issued the Executive Order challenged in this lawsuit.

                                  FACTUAL ALLEGATIONS

    Threats Aimed at Internet Intermediaries Jeopardize Individuals’ Free Speech Online

   18.     The Internet enables billions of people around the world to access and contribute to the

enormous wealth of information and ideas it sustains. It is transforming every aspect of our



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societies, large and small, from how our economies function and our elected officials govern, to

how we acquire information about deeply sensitive issues and express our most intimate thoughts.

    19.    Internet users depend on the interconnected network of technical intermediaries,

including backbone network operators, Internet service providers (ISPs) and telecommunications

carriers, content delivery networks, and remote hosting providers to exchange and store data. They

also rely on the millions of websites, social media services, and applications that run on this

infrastructure to access forums for searching for and sharing information and ideas, and for

connecting with other Internet users around the world. These intermediaries facilitate access to

content predominantly created by others.

    20.    Individuals’ ability to engage freely in online communication is vulnerable to

censorship through threats directed at Internet intermediaries, Internet intermediaries face pressure

to control or police user content and activity in a wide range of circumstances, including in

response to claims of defamation, obscenity, intellectual property infringement, invasion of

privacy, or because content is critical of the government.2 Due to the sheer scale of user-generated

content that intermediaries host or transmit, and intermediaries’ concerns about their own

reputational risk, Internet intermediaries may lack the resources and/or incentives to defend the

free speech interests of the users or to defend particular posts.

    21.    Recognizing the threat to free expression posed by a system treating intermediaries as

gatekeepers, Congress in 1996 enacted an amendment to the Communications Act of 1934. That

amendment, Section 230, shields intermediaries from liability for third-party content and enables

interactive service providers, such as social media companies, to moderate the content they host



2
 See Seth Kreimer, Censorship by Proxy: The First Amendment, Internet Intermediaries, and the
Problem of the Weakest Link, 155 U. Penn. L. Rev. 11, 31-32 (2006).

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without fear of liability. Section 230 expressly exempts an interactive computer service from

publisher liability for the exercise of its editorial and self-regulatory functions. This provision

ensures that “[i]nteractive computer services like Facebook, YouTube, and Twitter can, for

example, ‘perform some editing on user-generated content without thereby becoming liable for all

defamatory or otherwise unlawful messages that they didn’t edit or delete.’”3

    22.     This shield from the threat of litigation enables social media companies to combat

misinformation and disinformation, and remove or flag content that violates their policies without

fear of reprisal.4 Section 230 has been described as “the most important law protecting internet

speech” and “perhaps the most influential law to protect the kind of innovation that has allowed

the Internet to thrive.”5

               President Trump’s Retaliation Against Internet Content Providers

    23.     In August 2019, the White House announced it was working on a potential Executive

Order that would reduce liability protections for online platforms. It also announced that it was

investigating potential anticonservative bias on social media platforms.6




3
 Am. Freedom Def. Initiative v. Lynch, 217 F. Supp. 3d 100, 105 (D.D.C. 2016) (citing Fair Hous.
Council of San Fernando Valley v. Roommates.Com, LLC, 521 F.3d 1157, 1163 (9th Cir. 2008)).
4
  Press Release, CDT, Reported Executive Order Again Threatens First Amendment and
Empowers Government Censorship (May 28, 2020), https://cdt.org/press/reported-executive-
order-again-threatens-first-amendment-and-empowers-government-censorship/
5
   See Electronic Frontier Foundation, Section 230 of the Communications Decency Act,
https://www.eff.org/issues/cda230.
6
  See Margaret Harding McGill and Daniel Lippman, White House Drafting Executive Order to
Tackle Silicon Valley’s Alleged Anti-Conservative Bias, Politico, Aug. 7, 2019,
https://www.politico.com/story/2019/08/07/white-house-tech-censorship-1639051.

                                                6
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      24.    After significant negative public response, the White House in August 2019 shelved its

draft Executive Order to restrain the free speech of online platforms.7 Opposition to the potential

Executive Order included groups from across the political spectrum.8

      25.    On May 11, 2020, Twitter announced that it would begin applying labels and warning

messages to disputed or misleading tweets about the COVID-19 coronavirus pandemic, with links

to further context and factual information. That announcement did not mention tweets about




7
    Id.
8
  See, e.g., CDT (Press Release, CDT, CDT Condemns Reported Executive Order to Empower
Government Censorship (Aug. 9, 2019), https://cdt.org/press/cdt-condemns-reported-executive-
order-to-empower-government-censorship/); Public Knowledge (Harold Feld, Could the FCC
Regulate       Social      Media       Under     Section      230?    No,      Aug.    14,     2019,
https://www.publicknowledge.org/blog/could-the-fcc-regulate-social-media-under-section-230-
no); NetChoice (Carl Szabo, Trump Seeks Powers to Rein In Alleged Social Media Bias, Aug. 9,
2019,       https://netchoice.org/media-press/trump-seeks-powers-to-rein-in-alleged-social-media-
bias/); CCIA (Heather Greenfield, Administration Should Not Embrace Censorship Nor
Hamstring Efforts To Fight Online Extremism, Says CCIA, Aug. 9, 2019,
https://www.ccianet.org/2019/08/administration-should-not-embrace-censorship-nor-hamstring-
efforts-to-fight-online-extremism-says-ccia/); TechFreedom (TechFreedom, Draft Social Media
Bias Executive Order Would Create Real Internet Speech Police, Aug. 9, 2019,
https://techfreedom.org/draft-social-media-bias-executive-order-would-create-real-internet-
speech-police/); Gab (Andrew Torba, Don’t Get Excited About The White House’s Social Media
Censorship Executive Order, Gab News, May 28, 2019, https://news.gab.com/2019/05/28/dont-
get-excited-about-the-white-houses-social-media-censorship-executive-order); FreedomWorks
(@FreedomWorks,                Twitter       (Aug.         12,       2019,        10:02        AM),
https://twitter.com/FreedomWorks/status/1160959638671679489; Senator Ron Wyden (Brian
Fung, White House Proposal Would Have FCC and FTC Police Alleged Social Media Censorship,
CNN Business, Aug. 10, 2019, https://www.cnn.com/2019/08/09/tech/white-house-social-media-
executive-order-fcc-ftc/index.html); Fight for the Future (URGENT: Leaked Documents Show
White House Is Planning Executive Order to Censor the Internet (last visited June 1, 2020),
https://actionnetwork.org/petitions/censor-the-internet/); Jared Schroeder (Jared Schroeder,
Efforts to Compel Social Media ‘Fairness’ Go Afoul On Freedom Of Expression, The Hill, Aug.
13, 2019,            https://thehill.com/opinion/civil-rights/457297-efforts-to-compel-social-media-
fairness-go-afoul-on-freedom-of); and Congressman Ro Khanna (Ro Khanna (@RoKhanna),
Twitter, https://twitter.com/RoKhanna/status/1162519156970754049 (Aug. 16, 2019, 5:19 PM).

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elections, but it stated, “We will continue to introduce new labels to provide context around

different types of unverified claims and rumors as needed.”9

     26.    Since April 2019 it has been against Twitter’s policy—and its terms of use—to employ

the platform to interfere with elections:

               “You may not use Twitter’s services for the purpose of manipulating
               or interfering in elections. This includes but is not limited to:
               Misleading information about how to vote or register to vote (for
               example, that you can vote by Tweet, text message, email, or phone
               call)”10

     27.    The COVID-19 pandemic has raised significant concerns about the safety of in-person

voting. In the April 7, 2020, Wisconsin primary, 67 people tested positive for COVID-19 after

visiting the polls, and their exposure may have resulted from the lack of any broadly available mail

voting alternative.11

     28.    Michigan Secretary of State Jocelyn Benson has stated that, because of the threat of

COVID-19 spreading through in-person voting, Michigan voters this year will receive absentee

ballot applications allowing them to vote from home. Nearly 7.7 million registered voters in the

state will have the option to mail in their ballots for August and November elections.12


9
 See Yoel Roth and Nick Pickles, Updating Our Approach to Misleading Information, Twitter
(May 11, 2020), https://blog.twitter.com/en_us/topics/product/2020/updating-our-approach-to-
misleading-information.html.
10
  See Twitter Safety, Strengthening Our Approach to Deliberate Attempts to Mislead Voters,
Twitter (Apr. 24, 2019) https://blog.twitter.com/en_us/topics/company/2019/strengthening-our-
approach-to-deliberate-attempts-to-mislead-vot.html.
11
   See David Wahlberg, 67 Got COVID-19 After Visiting Polls In State’s April 7 Election But Tie
To       Voting      Unclear,        Wisconsin    State     Journal,    May        8,      2020,
https://madison.com/wsj/news/local/health-med-fit/67-got-covid-19-after-visiting-polls-in-states-
april-7-election-but-tie-to/article_49a42a7e-45d8-50cc-bd76-3a583842de39.html.
12
  See Governor Gretchen Whitmer, Executive Order 2020-27 (COVID-19), Conducting Elections
on      May     5,   2020    Using    Absent     Voter    Ballots,  Mar.    27,    2020,
https://www.michigan.gov/whitmer/0,9309,7-387-90499_90705-523400--,00.html; see also
Public Interest, Michigan Polls Quiet As Absentee Voting Booms to Record Levels Amid
                                                 8
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     29.    In response to these health and safety concerns, a number of other states have taken

steps to modify their voting protocols, including expanded mail-in voting options.13

     30.    President Trump has repeatedly expressed concern about mail-in voting. For example,

during a Fox & Friends appearance on March 30, 2020, he opposed funding for mail-in voting,

saying “they have things, levels of voting, that if you ever agreed to it, you’d never have a

Republican elected in this country again.”14

     31.     Similarly, on April 8, 2020, the President tweeted: “Republicans should fight very hard

when it comes to state wide mail-in voting. Democrats are clamoring for it. Tremendous potential

for voter fraud, and for whatever reason, doesn’t work out well for Republicans.”15

     32.    On May 26, 2020, the President tweeted: “There is NO WAY (ZERO!) that Mail-In

Ballots will be anything less than substantially fraudulent. Mail boxes will be robbed, ballots will

be forged & even illegally printed out & fraudulently signed.”16

     33.    He continued in a second tweet: “The Governor of California is sending Ballots to

millions of people, anyone . . . living in the state, no matter who they are or how they got there,

will get one. That will be followed up with professionals telling all of these people, many of whom




Coronavirus Outbreak, May 5, 2020, https://www.mlive.com/public-interest/2020/05/michigan-
polls-quiet-as-absentee-voting-booms-to-record-levels-amid-coronavirus-outbreak.html.
13
   See Nat’l Conference of State Legislatures, COVID-19 And Elections (May 21, 2020),
https://www.ncsl.org/research/elections-and-campaigns/state-action-on-covid-19-and-
elections.aspx.
14
      See     Aaron     Rupar     (@atrupar),  Twitter  (Apr.         8,         2020,     5:40    AM),
https://twitter.com/atrupar/status/1247866822252277760.
15
     Donald J. Trump (@realDonaldTrump), Twitter (Apr.                     8,     2020,    5:20    AM),
https://twitter.com/realDonaldTrump/status/1247861952736526336.
16
    Donald J. Trump (@realDonaldTrump), Twitter (May                       26,     2020,    5:17   AM),
https://twitter.com/realDonaldTrump/status/1265255835124539392.

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have never even thought of voting before, how, and for whom, to vote. This will be a Rigged

Election. No way!”17

     34.    Later that same day, May 26, 2020, Twitter appended the following addendum to the

President’s tweets, stating that viewers could “Get the facts” about California’s mail-in ballot plans

and providing a link if they chose to do so:18




The link leads to a series of news articles regarding President Trump’s claim that mail-in ballots

will lead to voter fraud and “a [r]igged [e]lection.”

     35.    Twitter did not remove the President’s tweets about mail-in voting. Those tweets

remain available to the public. Instead, Twitter provided more information regarding the subject

matter of the President’s tweet.

     36.    In response, on May 26, 2020, the President tweeted “@Twitter is now interfering in

the 2020 Presidential Election. They are saying my statement on Mail-In Ballots, which will lead

to massive corruption and fraud, is incorrect, based on fact-checking by Fake News CNN and the




17
   Twitter, Politics, Trump Makes Unsubstantiated Claim That Mail-In Ballots Will Lead to Voter
Fraud (May 26, 2020), https://twitter.com/i/events/1265330601034256384; Donald J. Trump
(@realDonaldTrump),           Twitter      (May        26,       2020,        5:17        AM),
https://twitter.com/realDonaldTrump/status/1265255845358645254;
18
  See Twitter, Politics, Trump Makes Unsubstantiated Claim That Mail-In Ballots Will Lead to
Voter Fraud (May 26, 2020), https://twitter.com/i/events/1265330601034256384.

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Amazon Washington Post . . . .”19 “Twitter is completely stifling FREE SPEECH, and I, as

President, will not allow it to happen!”20

     37.    Twitter posted the following explanation for its label.




     38.    On May 27, 2020, the President tweeted at 7:11 a.m., “Republicans feel that Social

Media Platforms totally silence conservatives voices. We will strongly regulate, or close them

down, before we can ever allow this to happen. We saw what they attempted to do, and failed, in

2016. We can’t let a more sophisticated version of that . . . happen again.” 21 “Just like we can’t

let large scale Mail-In Ballots take root in our Country. It would be a free for all on cheating,




19
    Donald J. Trump (@realDonaldTrump), Twitter (May                    26,   2020,   4:40   PM),
https://twitter.com/realDonaldTrump/status/1265427538140188676.
20
    Donald J. Trump (@realDonaldTrump), Twitter (May                    26,   2020,   4:40   PM),
https://twitter.com/realDonaldTrump/status/1265427539008380928.
21
    Donald J. Trump (@realDonaldTrump), Twitter (May                    27,   2020,   4:11   AM),
https://twitter.com/realDonaldTrump/status/1265601611310739456.

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forgery and the theft of Ballots. Whoever cheated the most would win. Likewise, Social Media.

Clean up your act, NOW!!!!”22

     39.    The President continued his targeted attacks by tweeting at 10:22 a.m., “Twitter has

now shown that everything we have been saying about them (and their other compatriots) is

correct. Big action to follow!”23 At 9:36 p.m., he followed up by tweeting, “Big Tech is doing

everything in their very considerable power to CENSOR in advance of the 2020 Election. If that

happens, we no longer have our freedom. I will never let it happen! They tried hard in 2016, and

lost. Now they are going absolutely CRAZY. Stay Tuned!!!”24

     40.    On May 27, 2020, White House adviser Kellyanne Conway, appearing on “Fox &

Friends,” spelled out the Twitter handle for Twitter’s head of Site Integrity (a “handle” is the means

of identifying a specific individual via Twitter) and said, “somebody in San Francisco will wake

him up and tell him he’s about to get more followers. This guy is constantly attacking Trump

voters, Trump, Mitch McConnell, you name it.”25 The handle for Twitter’s head of Site Integrity

is “@[y*****].”




22
    Donald J. Trump (@realDonaldTrump), Twitter (May                      27,   2020,   4:11    AM),
https://twitter.com/realDonaldTrump/status/1265601615261827072.
23
    Donald J. Trump (@realDonaldTrump), Twitter (May 27, 2020, 10:22 AM),
https://twitter.com/realDonaldTrump/status/1265649545410744321.
24
    Donald J. Trump (@realDonaldTrump), Twitter (May                      27,   2020,    9:36   PM),
https://twitter.com/realDonaldTrump/status/1265819308699070464.
25
   See Justine Coleman, Kellyanne Conway: Trump’s Twitter Fact Checks Done By ‘People Who
Attack       Him      All     Day      Long,      The     Hill,    May         27,     2020,
https://thehill.com/homenews/administration/499730-conway-trumps-twitter-fact-checks-done-
by-people-who-attack-him-all.

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     41.    At 10:47 p.m. on May 27, 2020, Twitter’s CEO Jack Dorsey stated on Twitter that he

personally took responsibility for the decision to add a label to Trump’s tweets, adding, “Please

leave our employees out of this.”26

     42.    On May 28, 2020, the President retweeted Rep. Elise Stefanik’s tweet: “Thanks for the

clarification @jack[.] This makes YOU accountable for allowing the Chinese Communist Party

to abuse this site with mis-information & propaganda spread across the globe - all while the CCP

bans and suppresses their own people from using Twitter!”27

     43.    Later that morning, at 8:37 a.m., President Trump tweeted, “This will be a Big Day for

Social Media and FAIRNESS!”28 At 12:44 p.m. he continued, “So ridiculous to see Twitter trying

to make the case that Mail-In Ballots are not subject to FRAUD. How stupid, there are examples,

& cases, all over the place. Our election process will become badly tainted & a laughingstock all

over the World. Tell that to your hater “@[y*****].”29


                   The “Executive Order on Preventing Online Censorship”

     44.    The President swiftly took retaliatory action. At 4:28 p.m. on May 28, 2020, the White

House Twitter account released a video of the President issuing an “Executive Order on Preventing

Online Censorship” (“Executive Order”) pertaining to “online platforms,” which the order defines

as “any website or application that allows users to create and share content or engage in social



26
       Jack      Dorsey      (@jack),    Twitter  (May          27,         2020,        10:47    PM),
https://twitter.com/jack/status/1265837138114830336?s=20.
27
      Elise Stefanik (@EliseStefanik), Twitter, May                   27,     2020,       11:18   PM),
https://twitter.com/EliseStefanik/status/1265844947653197824.
28
    Donald J. Trump (@realDonaldTrump), Twitter (May                        28   2020,     8:37   AM),
https://twitter.com/realDonaldTrump/status/1265985660898459655.
29
    Donald J. Trump (@realDonaldTrump), Twitter (May 28,                         2020,    12:44   PM),
https://twitter.com/realDonaldTrump/status/1266047584038256640.

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networking, or any general search engine.” 30 The Order attempts to inhibit the exercise of free

speech rights by online content hosts; directs the government to review media advertising spent on

those platforms; directs the Department of Justice to evaluate the editorial practices of those

platforms; and orders the Federal Trade Commission, Federal Communications Commission, and

Department of Justice to investigate or regulate the platforms.31

     45.     The Order will interfere significantly with the freedom of speech of all Americans.

Intermediaries that host content online will be forced to shape and apply their content moderation

policies according to government officials’ desires, depriving Americans of access to online

forums free from government interference with their constitutionally protected speech. And those

intermediaries will be chilled in exercising their own First Amendment right to comment upon and

to moderate the online content that they host.

     46.     First, the Order’s text confirms that it was issued to retaliate against constitutionally

protected speech. The Order expressly discusses Twitter’s speech responding to President Trump’s

May 26, 2020, tweet and states President Trump’s view that his tweets are being selectively

targeted:

                Twitter now selectively decides to place a warning label on certain tweets
                in a manner that clearly reflects political bias. As has been reported, Twitter
                seems never to have placed such a label on another politician’s tweet. As
                recently as last week, Representative Adam Schiff was continuing to
                mislead his followers by peddling the long-disproved Russian Collusion
                Hoax, and Twitter did not flag those tweets. Unsurprisingly, its officer in
                charge of so-called ‘Site Integrity’ has flaunted his political bias in his own
                tweets.


30
         See      @WhiteHouse       Twitter      (May        28,     2020,      1:28      p.m.),
https://twitter.com/WhiteHouse/status/1266104188112601089; see also Exec. Order (May 28,
2020),        https://www.whitehouse.gov/presidential-actions/executive-order-preventing-online-
censorship/.
31
  See Exec. Order (May 28, 2020), https://www.whitehouse.gov/presidential-actions/executive-
order-preventing-online-censorship/.

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The Order explicitly mentions Twitter by name six times and contains numerous implicit

references to Twitter’s free speech actions. President Trump also references other constitutionally

protected speech by online content platforms who are “flagging content as inappropriate.”

   47.       Second, the Order seeks to circumvent the roles of Congress and the courts by dictating

a new interpretation of a federal statute that is contrary to established law. Under longstanding

precedent, Section 230 protects online content providers from liability for making decisions about

what content may be published on their platforms. The Order nevertheless directs the “Secretary

of Commerce in consultation with the Attorney General, acting through the National

Telecommunications and Information Administration (NTIA)” to file with the Federal

Communications Commission a rulemaking petition urging the FCC to issue a rule that would

restrict significantly Section 230’s liability protection by imposing new limitations on that

protection. The Order further directs “all executive departments and agencies” to “ensure that

their application of [S]ection 230(c) properly reflects the narrow purpose of the section and take

all appropriate actions in this regard.”

   48.       Third, the Order encourages officials in the Executive Branch to allocate taxpayer funds

to online platforms based on those officials’ assessment of the free speech practices of those

platforms.    It directs “each executive department and agency” to review its “spending on

advertising and marketing paid to online platforms” and their statutory authority to “restrict [those

online platforms] receipt of advertising dollars” and provide a report to the Office of Management

and Budget. And the Order directs the Department of Justice to “review the viewpoint-based

speech restrictions imposed by each online platform identified in [those reports] and assess

whether any online platforms are problematic vehicles for government speech due to viewpoint

discrimination, deception to consumers, or other bad practices.”



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   49.     Fourth, the Order provides that the White House “will submit” reports of purported

“online censorship” received through its “Tech Bias Reporting Tool” to the Department of Justice,

and the FTC so it can “consider taking action” under applicable law, including under 15 U.S.C

§ 45, which makes unfair methods of competition unlawful.

   50.     Fifth, the Order directs the Attorney General to establish a working group “regarding

the potential enforcement of State statutes that prohibit online platforms from engaging in unfair

or deceptive acts or practices” and to “develop model legislation,” if needed, for states to address

online platforms’ actions of moderating and posting content on their own platforms as “unfair and

deceptive acts and practices.” It further orders the Attorney General to “develop a proposal for

Federal legislation.”

   51.     The effect of the actions directed by the Executive Order will be to dramatically limit

and chill free speech on the Internet. The Order calls into question essential liability protection that

makes it possible for companies to host third-party content at scale, and creates several punitive

mechanisms if those intermediaries step out of line, including withdrawal of federal advertising

funds, prosecution by state attorneys general, and adverse action by the FTC. It will burden the

freedom of speech of all Americans by requiring intermediaries to moderate according to the

government’s preferences. It will require intermediaries to refrain from taking actions, including

addressing hateful speech or inaccurate information about voting, that would displease the

government—chilling social media services themselves from exercising their protected First

Amendment rights through fact-checking, labeling, or other editorial activity.

   52.     In addition, this Order will increase the chance that social media services decide not to

address hateful or harassing speech, combat disinformation, or correct inaccurate information

about where and how to vote, which in turn will have a chilling effect on the ability for vulnerable



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groups to participate on these services and potentially to exercise their right to vote. Finally, the

Order will discourage social media companies from engaging in fact-checking partnerships with

third parties and groups that combat voter suppression, directly burdening the speech of those

organizations.


   Announcement of the Executive Order Confirms President Trump’s Retaliatory Motive

   53.         During an Oval Office press conference on May 28, 2020, announcing the Executive

Order, President Trump further revealed his retaliatory motive against online platforms, stating

they have “points of view” and are “taking over the airwaves.” He then expressly targeted

Twitter’s May 26, 2020, exercise of free speech on its own platform, labeling it “inappropriate”

and calling out by name the company’s “Head of Site Integrity”:

         The choices that Twitter makes when it chooses to suppress, edit, blacklist, shadow,
         ban are editorial decisions, pure and simple. They’re editorial decisions. In those
         moments, Twitter ceases to be a neutral public platform, and they become an editor
         with a viewpoint. And I think we can say that about others also, whether you’re
         looking at Google, whether you’re looking at Facebook and perhaps others.

         One egregious example is when they try to silence views that they disagree with by
         selectively applying a “fact check” — a fact check — F-A-C-T. Fact check. What
         they choose to fact check and what they choose to ignore or even promote is nothing
         more than a political activism group or political activism. And it’s inappropriate.

         ...

         This is our — this is the arbiter. This guy is the arbiter of what’s supposed to go
         on Twitter. He’s the one. He thought that — he thought — and he used CNN as a
         guide — CNN, which is fake news. He uses CNN as a guide. His name is [Y***]
         [R***].

         ...

         So here’s your — here’s your man, and that’s on Twitter.

         ...

         If Twitter were not honorable — if you’re going to have a guy like this be your
         judge and jury, I think just shut it down, as far as I’m concerned, but I’d have to go

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           through a legal process to do that. . . . [I]f it were able to be legally shut down, I
           would do it.

Commenting further on online platforms’ free speech actions, President Trump stated “[W]e’re

fed up with it, and it’s unfair, and it’s been very unfair. And we’ll see what happens.”32

     54.      In the same press conference, the President threatened to eliminate or restrict

government funding to online platforms, which provides free educational content to the world, by

directing his administration to “develop policies and procedures to ensure taxpayer dollars are not

going into any social media company” that engages in protected speech like that of Twitter. In

regard to such funding, Trump said: “So we’re going to be doing none of it or a very little of it.”

     55.      FCC Commissioner Brendan Carr confirmed President Trump’s retaliatory motivation.

In an appearance on Fox News, he declared that “Twitter made the decision to take on the president

of the United States” and accused Twitter of “punishing speakers based on whether it approves or

disapproves of their politics.”33 Commissioner Carr’s statement differs from views he expressed

last year, when he criticized a social media company’s request for government assistance in

moderating content and declared that “[o]utsourcing censorship to the government is not just a bad

idea, it would violate the First Amendment.”34




32
   Remarks by President Trump Announcing an Executive Order on Preventing Online Censorship
(May 28, 2020, 3:47 p.m.), https://www.whitehouse.gov/briefings-statements/remarks-president-
trump-announcing-executive-order-preventing-online-censorship/
33
  Press Release, FCC, FCC Commissioner Carr Welcomes Executive Order on Online Censorship
(May 28, 2020), https://docs.fcc.gov/public/attachments/DOC-364629A1.pdf; @BrendanCarr,
Twitter              (May            29,            2020,          1:14            p.m.),
https://twitter.com/BrendanCarrFCC/status/1266462927936278529?s=20
34
     Brendan Carr (@BrendanCarrFCC), Twitter (Mar. 30, 2019,                                5:31    PM)
https://twitter.com/brendancarrfcc/status/1112150281066819584?lang=en


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     President Trump Further Confirms His Retaliatory Motivation Through A Series of Tweets

      56.    Following the death of George Floyd on May 25, 2020, demonstrations took place

protesting the actions of the Minneapolis police. Some of those demonstrations led to violence.

      57.    Just after midnight on May 29, 2020, the President tweeted: “These THUGS are

dishonoring the memory of George Floyd, and I won’t let that happen. Just spoke to Governor

Tim Walz and told him that the Military is with him all the way. Any difficulty and we will assume

control but, when the looting starts, the shooting starts. Thank you!”

      58.    Twitter appended a label to the President’s tweet: “This Tweet violated the Twitter

Rules about glorifying violence. However, Twitter has determined that it may be in the public’s

interest for the Tweet to remain accessible.”35 The tweet remains accessible to the public.

      59.    At 7:10 a.m. on May 29, 2020, the President claimed, “Twitter is doing nothing about

all of the lies & propaganda being put out by China or the Radical Left Democrat Party. They

have targeted Republicans, Conservatives & the President of the United States. Section 230 should

be revoked by Congress. Until then, it will be regulated!”36 At 8:44 a.m. on May 29, 2020, the

President tweeted: “‘Regulate Twitter if they are going to start regulating free speech.’

@JudgeJeanine @foxandfriends Well, as they have just proven conclusively, that’s what they are

doing. Repeal Section 230!!!”37

      60.    On the morning of May 29, 2020, White House deputy chief of staff Dan Scavino

tweeted: “Twitter is targeting the President of the United States 24/7, while turning their heads to


35
    Donald J. Trump (@realDonaldTrump), Twitter (May                     28,   2020,   9:53   PM),
https://twitter.com/realDonaldTrump/status/1266231100780744704.
36
    Donald J. Trump (@realDonaldTrump), Twitter (May                     29,   2020,   7:10   AM),
https://twitter.com/realDonaldTrump/status/1266326065833824257.
37
    Donald J. Trump (@realDonaldTrump), Twitter (May                     29,   2020,   8:44   AM),
https://twitter.com/realDonaldTrump/status/1266349790507515905.

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protest organizers who are planning, plotting, and communicating their next moves daily on this

very platform. Twitter is full of shit - more and more people are beginning to get it.”38


             President Trump’s Demonstrated Capacity to Influence Private Actors

     61.    Targeting by President Trump often causes companies to reverse course on policy and

corporate conduct. For example, air conditioning manufacturer Carrier reversed its plans to move

some jobs abroad after being targeted by the President.39 On January 3, 2017, President-elect

Trump tweeted: “General Motors is sending Mexican made model of Chevy Cruze to U.S. car

dealers-tax free across border. Make in U.S.A. or pay big border tax!”40 Two weeks later, GM

said it would invest at least $1 billion in US factories, and committed to creating or retaining about

7,000 jobs in coming years.41

     62.    The President’s tweets about a company can have immediate impact. “In almost every

case, when the president unleashes his Twitter fury, the share price of the affected company

drops—in some cases fairly significantly. Lockheed Martin’s stock, for example, plunged by more




38
      Dan Scavino Jr. (@scavino45), Twitter, (May 29, 2020, 5:18 AM),
https://twitter.com/Scavino45/status/1266343153466060803; see also Adam Shaw, White House
hits back after Twitter cracks down on Trump's Minneapolis tweet, reposts censored message, Fox
News, https://www.foxnews.com/politics/white-house-twitter-trump-minneapolis-tweet (last
visited June 1, 2020).
39
   See Ylan Q. Mui, Matea Gold & Max Ehrenfreund, Trump threatens ‘consequences’ for U.S.
firms      that      relocate    offshore,     Wash.       Post,     Dec.       1,      2016,
https://www.washingtonpost.com/politics/trump-threatens-consequences-for-us-firms-that-
relocate-offshore/2016/12/01/a2429330-b7e4-11e6-959c-172c82123976_story.html
40
     Donald J. Trump (@realDonaldTrump), Twitter (Jan 3, 2017, 4:30 AM),
https://twitter.com/realDonaldTrump/status/816260343391514624?ref_src=twsrc%5Etfw.
41
  See David Shepardson, General Motors says to invest additional $1 billion in U.S., Reuters (Jan.
16, 2017, 9:58 PM), https://www.reuters.com/article/us-gm-jobs-trump/general-motors-says-to-
invest-additional-1-billion-in-u-s-idUSKBN15107B.

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than 5% in December, after Trump criticized the company by saying the cost of its F-35 jet aircraft

contract was ‘out of control.’”42

     63.      As a result of this long record of President Trump’s direct and forceful attacks on

individuals and companies who have taken actions with which he disagrees, organizations may be

reluctant to challenge President Trump’s right to issue the Executive Order given the possibility

that his ire and the power of the White House may be directed against them.43

     64.      In light of President Trump’s history of retaliatory action, which often causes

companies to reverse course on policy and corporate conduct, operators of online content

platforms, social networks, or search engines will almost certainly be deterred or hindered in

protecting their own free speech rights through a lawsuit. See Camacho v. Brandon, 317 F.3d 153,

160 (2d Cir. 2003) (noting “the possibility that instituting litigation on [one’s] own behalf may

only incur further retribution”). That is particularly true for those operators who benefit from the

constant publicity of the President using their services or who receive government funding.


           The First Amendment Prohibits the President from Retaliating Based on Speech

     65.      “[T]he First Amendment prohibits government officials from subjecting an individual

to retaliatory actions” for engaging in protected speech. Hartman v. Moore, 547 U.S. 250, 256

(2006). “[A]ny governmental action that . . . results in a chilling effect upon an individual’s right

of free speech may violate the First Amendment. McBride v. Vill. of Michiana, 30 F.3d 133 (6th


42
  See Mathew Ingram, Here’s What a Trump Tweet Does to a Company’s Share Price, Fortune
(Feb. 24, 2017, 11:26 AM), https://fortune.com/2017/02/24/trump-tweet-stocks/.
43
  See Jamie L. Lareau, President Trump's shots at GM have left company insiders deeply troubled,
Detroit Free Press (Apr. 1, 2020, 5:01 PM), https://www.freep.com/story/money/cars/general-
motors/2020/04/01/coronavirus-covid-19-donald-trump-mary-barra-tweets-gm/5088449002/; see
also Ben White & Lorraine Woellert, Trump's tweet shaming startles corporate America, Politico
(Dec. 6, 2016, 5:42 PM), https://www.politico.com/story/2016/12/trumps-tweet-shaming-
corporate-america-232274.

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Cir. 1994) (table) (citing Laird v. Tatum, 408 U.S. 1, 11 (1972)); Wolford v. Lasater, 78 F.3d 484,

488 (10th Cir. 1996) (“Generally speaking, government action which chills constitutionally

protected speech or expression contravenes the First Amendment.” (citing Riley v. Nat’l Fed’n of

the Blind of N. Carolina, 487 U.S. 781, 794 (1988))).

   66.     Courts have recognized that retaliatory conduct chills a person or entity from exercising

their First Amendment rights in the future. Even informal measures such as an investigation,

coercion, persuasion, and intimidation can chill First Amendment activities. Am. Commc’ns Ass’n,

C.I.O. v. Douds, 339 U.S. 382, 402 (1950) (“[I]ndirect ‘discouragements’ undoubtedly have the

same coercive effect upon the exercise of First Amendment rights as imprisonment, fines,

injunctions or taxes.”); White v. Lee, 227 F.3d 1214, 1228 (9th Cir. 2000); Bantam Books, Inc. v.

Sullivan, 372 U.S. 58, 67 (1963) (“[T]he threat of invoking legal sanctions and other means of

coercion, persuasion, and intimidation” constitutes “informal censorship” that violates the First

Amendment).

   67.     A court will “strike down executive and administrative action on the basis of what it

determines to be improper motives or purposes.” L. Tribe, American Constitutional Law § 12-5,

at 816. In so doing, courts “look through forms to the substance” of government conduct. Bantam

Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963).


                           The Executive Order’s Impact on Plaintiff

   68.     CDT is a nonprofit advocacy organization that works to ensure that the human rights

people enjoy in the physical world, like freedom of speech, are realized online and that technology

continues to serve as an empowering force for people worldwide. Integral to this work is CDT’s

representation of the public interest in the creation of an open, innovative, and decentralized




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Internet that promotes the constitutional and democratic values of free expression, privacy, and

individual liberty.

     69.     Critical to CDT’s mission is advocating in favor of First Amendment protection for

speech on the Internet. To that end, among other things, CDT has participated in a number of cases

addressing First Amendment rights and the Internet, including as litigants in CDT v. Pappert, 337

F. Supp. 2d 606, 646, 649-63 (E.D. Pa. 2004) (striking down as unconstitutional a statute that

imposed criminal liability on Internet service providers who failed to comply with requests issued

by the Pennsylvania Attorney General to block access to websites containing child pornography);

challenging, as part of a broad coalition, key portions of the Communications Decency Act (CDA)

in Reno v. ACLU, 521 U.S. 844 (1997) (striking down portions of the CDA prohibiting

transmission of obscene or indecent communications to persons under Age 18 as a content-based

blanket restrictions on speech and facially overbroad in violation of the First Amendment); and as

amicus curiae in First Amendment challenges including Backpage.com, L.L.C., v. Dart, 807 F.3d

229 (7th Cir. 2016) (holding campaign by sheriff’s office to pressure pressuring financial

intermediaries to cease payment processing for online classified advertising website to be an

unconstitutional prior restraint) (See ECF Nos. 29, 34, 35, and 37, No. 15-3047 (7th Cir.)).

     70.    CDT has been deeply engaged in law and policy advocacy regarding intermediary

liability frameworks, free speech, and content moderation since the organization was founded in

1994.

     71.    The organization devotes significant resources to advocating in favor of individuals’

online free expression rights and the legal frameworks that support them, 44 including evaluating



44
   See, e.g., Emma Llansó, Clearing Up Misinformation About Section 230, CDT (July 11, 2019),
https://cdt.org/insights/clearing-up-misinformation-about-section-230/.

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proposals to amend the proposed laws on free speech online and challenging legislation that

burdens individuals’ fundamental rights, holding public events, and communicating with policy

makers in the Executive and Legislative Branches.

    72.     The Executive Order injures Plaintiff CDT by infringing on its interests, including its

interests in enhancing freedom of expression, preserving the unique nature of the Internet, and

limiting government surveillance, and by causing Plaintiff CDT to divert resources to safeguarding

the principles underlying the First Amendment, 47 U.S.C. § 230, and the free speech rights of

online content platforms and individuals that the Executive Order places under attack.

    73.     As a result of the Executive Order, CDT will be required to devote substantial resources

to (a) participating in the planned FCC rulemaking proceeding; (b) monitoring federal agencies’

reports regarding and any action by the Department of Justice; (c) tracking any FTC action with

respect to online speech, and participating in any proceedings that the Commission institutes; (d)

engaging with federal and state policymakers with respect to the development of proposed

legislation—as well as informing the public about all of these activities and the potential

consequences for protection of free speech online. These activities will be time-consuming and

resource-intensive, and will require CDT to reallocate resources that it planned to use for other

activities furthering its mission.

                                      CLAIM FOR RELIEF

                                 FIRST CAUSE OF ACTION
                    Ultra Vires Action in Violation of the First Amendment

    74.     The foregoing allegations are repeated and incorporated as though fully set forth herein.

    75.     Plaintiff has a cause of action in equity and under the All Writs Act, 28 U.S.C. § 1651,

to declare unlawful and to enjoin a Presidential Executive Order or other Presidential action that

is ultra vires. See generally Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015)


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(“The ability to sue to enjoin unconstitutional actions by state and federal officers is the creation

of courts of equity, and reflects a long history of judicial review of illegal executive action, tracing

back to England.”).

    76.      A Presidential Executive Order issued in violation of the U.S. Constitution is ultra vires

and therefore void ab initio.

    77.      President Trump’s May 28, 2020, “Executive Order on Preventing Online Censorship”

constitutes retaliatory action by a government official, in violation of the U.S. Constitution’s First

Amendment’s protection of free speech. See generally Hartman v. Moore, 547 U.S. 250, 256

(2006) (“[T]he First Amendment prohibits government officials from subjecting an individual to

retaliatory actions . . . .”).

    78.      A private company engaged in constitutionally protected speech on its own online

platform by including a label on President Trump’s tweets on May 26, 2020, and linking to

information regarding the subject matter of President Trump’s tweet, thereby expressing its

viewpoint and adding to the discourse on its platform regarding the subject matter of the

President’s tweets.

    79.      Two days later and after a series of public attacks directly focused on the company’s

exercise of free speech, President Trump retaliated on May 28, 2020, by issuing the “Executive

Order on Preventing Online Censorship,” expressly mentioning the company by name six times.

The company’s constitutionally protected speech was the proximate or “but for” cause of President

Trump issuance of the Executive Order. President Trump also issued the Executive Order to

pressure the company into removing its constitutionally protected speech from its online platform

and to coerce other Internet intermediaries into refraining from similar constitutionally protected

speech on their own platforms, and into prohibiting such speech by their users, in the future.



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     80.      President Trump’s retaliatory acts would deter a person of ordinary firmness from

engaging in First Amendment speech and activity.

     81.      The Executive Order was intended to have, and is having or is likely to have, the effect

of chilling the constitutionally protected speech of online content platforms, including Twitter,

Facebook, Instagram, and YouTube that were explicitly named in the Executive Order. See

generally Hartman v. Moore, 547 U.S. 250, 256 (2006) (“Official reprisal for protected speech

‘offends the Constitution [because] it threatens to inhibit exercise of the protected right’ . . . .”

(alteration in original) (quoting Crawford–El v. Britton, 523 U.S. 574, 588, n. 10 (1998)). The

Executive Order seeks to curtail and chill the constitutionally protected speech of all online

platforms and individuals—by demonstrating the willingness to use government authority to

retaliate against those who criticize the government.

     82.      As noted, the Executive Order injures Plaintiff CDT’s First Amendment interest and

causes it to divert resources to safeguarding the First Amendment rights of individuals and Internet

intermediaries that the Executive Order places under attack.

     83.      Plaintiff has been and will be irreparably injured by President Trump’s ultra vires

Executive Order issued in violation of the First Amendment, and have no adequate remedy at law.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the following relief:

A.         A declaration pursuant to 28 U.S.C. § 2201 that the Executive Order is unlawful and

           invalid.

B.         A preliminary and permanent injunction enjoining Defendant, his officials, agents,

           employees, assigns, and all persons acting in concert or participating with them from

           implementing or enforcing any part of the Executive Order;

C.         An order awarding Plaintiff cost of suit, and reasonable attorneys’ fees and expenses
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       pursuant to any applicable law; and

D.     Such other relief as this Court deems equitable, just, and proper.



Dated: June 2, 2020                           Respectfully Submitted,

                                              MAYER BROWN LLP



                                              By: /s/ Andrew J. Pincus

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                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Center for Democracy and Technology                                            Donald J. Trump




                                                         11001
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________
                                                                                                                                   11001
                                                                                    COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)
 Please see attached.




 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                    Federal Tax Suits                                 462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                         870 Taxes (US plaintiff or                        Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                          defendant)                               465 Other Immigration
      230 Rent, Lease & Ejectment                                                         871 IRS-Third Party 26 USC                        Actions
      240 Torts to Land                 Prisoner Petitions                                     7609                                     470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                     Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                              625 Drug Related Seizure of
                                                                                               Property 21 USC 881                      490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                           690 Other                                    850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                      Other Statutes                                    896 Arbitration
      380 Other Personal Property
                                                                                          375 False Claims Act                          899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                                376 Qui Tam (31 USC                               Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                        3729(a))                                      Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                  400 State Reapportionment                     950 Constitutionality of State
                                                Drug Application                          430 Banks & Banking                               Statutes
                                            840 Trademark                                 450 Commerce/ICC                              890 Other Statutory Actions
                                                                                              Rates/etc.                                    (if not administrative agency
                                                                                          460 Deportation                                   review or Privacy Act)
                         Case 1:20-cv-01456-DLF Document 1-1 Filed 06/02/20 Page 2 of 3
 o     G. Habeas Corpus/                       o      H. Employment                            o    I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                    o    M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate         or Reopened        from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Ultra vires challenge to constitutionality of May 28, 2020, Executive Order on Preventing Online Censorship

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
                                             ACTION UNDER F.R.C.P. 23                                                            YES               NO
      COMPLAINT                                                                      JURY DEMAND:

 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO      ✘                If yes, please complete related case form


               6/2/2020
 DATE: _________________________                                                                   /s/ Andrew J. Pincus
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
            Case 1:20-cv-01456-DLF Document 1-1 Filed 06/02/20 Page 3 of 3



                             ADDENDUM TO CIVIL COVER SHEET
                               LIST OF PLAINTIFFS’ COUNSEL

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                      Case 1:20-cv-01456-DLF Document 1-2 Filed 06/02/20 Page 1 of 2

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                       Donald J. Trump




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                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Donald J. Trump, in his official capacity as
                                          President of the United States
                                          1600 Pennsylvania Avenue, NW
                                          Washington, DC 20500




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ZKRVHQDPHDQGDGGUHVVDUH Andrew J. Pincus (D.C. Bar No. 370762)
                                          MAYER BROWN LLP
                                          1999 K Street, NW
                                          Washington, DC 20006
                                          (202) 263-3000
                                          APincus@mayerbrown.com


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                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
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                       Donald J. Trump




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                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV William P. Barr, in his official capacity as
                                          Attorney General of the United States
                                          950 Pennsylvania Avenue, NW
                                          Washington, DC 20530




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

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ZKRVHQDPHDQGDGGUHVVDUH Andrew J. Pincus (D.C. Bar No. 370762)
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                                          APincus@mayerbrown.com


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                       Donald J. Trump




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                                                     SUMMONS IN A CIVIL ACTION

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                                          Washington, DC 20001




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ZKRVHQDPHDQGDGGUHVVDUH Andrew J. Pincus (D.C. Bar No. 370762)
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